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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

vs.                                 4:06CR00135-WRW

JEREMY KERSEY

                      AMENDED JUDGMENT AND COMMITMENT

       Pending is the Prosecution’s Motion to Amend/Correct Judgment and Commitment (Doc.

No. 129). Defendant has responded (Doc. No. 130). The Prosecution’s Motion is GRANTED.

I believe home detention is an implied condition of electronic monitoring, and home detention is

imposed nunc pro tunc. The Judgment entered on August 1, 2008, is amended to reflect this

change. The remaining conditions of probation imposed on July 31, 2008, remain in full force

and effect.

       IT IS SO ORDERED this 28th day of August, 2008.




                                                          /s/Wm. R. Wilson, Jr.
                                                    UNITED STATES DISTRICT JUDGE
